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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                            Criminal No. 16-340 (MJD)
                              Criminal No. 11-386 (MJD)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                         ORDER OF DETENTION
        v.

 OKWUCHUKWU EMMANUEL JIDOEFOR,

                      Defendant.


       The two matters captioned above came before the Court on August 10, 2020, for a

preliminary revocation hearing, in Criminal No. 11-386, and for a detention hearing in both

matters. The defendant consented to appear by Zoom because of the COVID-19 pandemic.

Robert D. Richman appeared by Zoom for the defendant.               The United States was

represented by Assistant United States Attorney David J. MacLaughlin, who also appeared

by Zoom.

       In Criminal No. 16-340, Defendant Okwuchukwu Emmanuel Jidoefor is charged in

a Second Superseding Indictment with one count of conspiracy to commit mail and wire

fraud, and with one substantive count of mail fraud. In Criminal No. 11-386, the probation

office has filed a petition alleging that Mr. Jidoefor violated the conditions of his release

in that case by committing the offenses charged in the Second Superseding Indictment.

       The Court held a preliminary revocation hearing and determined, based upon the

filing of the Second Superseding Indictment in Criminal No. 16-340, that there was

probable cause to believe that Mr. Jideofor violated the conditions of his release in Criminal
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No. 11-386 by committing new offenses while on release, specifically, conspiracy to

commit mail and wire fraud, and mail fraud.

        The Court then proceeded to hold a detention hearing in both matters. It considered

the government’s motion for detention in Criminal No. 16-340 under the Bail Reform Act,

and considered the government’s motion for detention in Criminal No. 11-386 under Title

18, United States Code, Section 3143, and Federal Rule of Criminal Procedure 32.1(a)(6).

Based upon the government’s proffer at the detention hearing, and on the arguments of

counsel, the Court finds that, in Criminal No. 16-340, the government has satisfied its

preponderance burden of showing that there are no conditions or combination of conditions

of bond that will reasonably ensure the defendant’s appearance in court.1 In Criminal No.

11-386, the Court finds that Mr. Jidoefor failed to meet his burden of showing by clear and

convincing evidence that he will not flee. See FRCP 32.1(a)(6). Accordingly, the Court

will grant the government’s motions for detention in both matters.

                                                DISCUSSION

        At the detention hearing, the government proffered that the defendant knew, at least

as early as February 22, 2017, that he was a target of an investigation of Minnesota

chiropractors who used illegal “runners” to recruit patients and then bill insurance carriers

for the resulting services. Specifically, the government proffered that, on February 22,

2017, a Special Agent with the Minnesota Commerce Fraud Bureau personally served a

target letter on Mr. Jidoefor at the Federal Café in the Minneapolis Courthouse. During



1 The Court found, however, that the government did not satisfy its clear-and-convincing burden of showing that the
defendant presents a danger to the community.

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the detention hearing, Mr. Jidoefor, through counsel, acknowledged that Mr. Jidoefor was

aware of the investigation.

       On August 15, 2017, the government obtaining a Second Superseding Indictment

alleging that Mr. Jidoefor was a “runner” for one of the chiropractor defendants in the

investigation, and was involved in staging accidents to create insurance claims. The Court

issued a summons to Mr. Richman that required Mr. Jidoefor to make his first appearance

before Magistrate Judge Becky R. Thorson on September 1, 2017. Mr. Richman appeared

at the hearing before Judge Thorson, but Mr. Jideofor did not.

       Instead, Mr. Jideofor became a fugitive. Specifically, Mr. Jideofor eventually made

his way to the State of New Jersey, where he lived under the alias, “Hamza Ejifor.” The

government proffered that Mr. Jideofor was arrested on June 29, 2020 as “Hamza Ejifor”

on suspicion that Mr. Jideofor was stealing from or committing a fraud against Home Depot

in New Jersey.

       Based on these facts, the Court concludes that the government has satisfied its

preponderance burden of showing that no condition or combination of conditions will

reasonably assure Mr. Jideofor’s appearance in Court as this matter proceeds.

       Further, in Criminal No. 11-386, Mr. Jidoefor has the burden of showing by clear

and convincing evidence that he will not flee. See FRCP 32.1 (In a revocation proceeding,

“[t]he burden of establishing by clear and convincing evidence that the person will not flee

or pose a danger to any other person or to the community rests with the person”). In view

of Mr. Jidoefor’s flight from prosecution, and use of an alias name, he has not met his

burden of showing he will not flee.

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                                      CONCLUSION

       Based upon the foregoing, the Court concludes that the government has shown by a

preponderance of the evidence that no condition or combination of conditions of bond will

reasonably ensure the defendant’s appearance in court. As well, detention is warranted

under Rule 32.1(a)(6) and 18 U.S.C. Section 3143 in the revocation matter. Accordingly,

       IT IS HEREBY ORDERED that:

       1.     The motion of the United States for detention of defendant is granted;

       2.     Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       3.     Defendant shall be afforded reasonable opportunity to consult privately with

his lawyer; and

       4.     Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which the defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: August 11, 2020                     s/Elizabeth Cowan Wright
                                           Elizabeth Cowan Wright
                                           United States Magistrate Judge




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